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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )
               Plaintiff,                    )       ORDER
                                             )
       vs.                                   )
                                             )
Matthew Karl Johnson,                        )       Case No. 1:19-cr-015
                                             )
               Defendant.                    )


       On February 19, 2020, defendant filed notice of substitution of counsel. For good cause

shown, the court authorizes attorney Bobbi Weiler to withdraw as defense counsel of record.

Attorney Thomas Jackson is appointed to represent defendant in this matter and shall be substituted

as defense counsel of record.

       IT IS SO ORDERED.

       Dated this 21st day of February, 2020.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court
